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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                          )
 In re:                                                   ) Chapter 11
                                                          )
 ALEXANDER E. JONES,                                      ) Case No. 22-33553 (CML)
                                                          )
                         Debtor.                          )
                                                          )

             NOTICE OF RESCHEDULING OF THE OFFICIAL COMMITTEE
               OF UNSECURED CREDITORS OF ALEXANDER E. JONES
                 RULE 2004 DEPOSITION OF ERIKA WULFF-JONES

          On June 26, 2023, the Official Committee of Unsecured Creditors (the “Committee”) of

Alexander E. Jones filed its Notice of Rule 2004 Deposition of Erika Wulff-Jones [ECF No. 355]

which, by mutual agreement of the parties, was noticed to be held in person on July 14, 2023 at

10:00 a.m. in Austin, TX.

          Yesterday afternoon, Ms. Jones informed the Committee that she was no longer able to

appear for a deposition and thus the deposition will need to be rescheduled. A revised notice will

be filed when the new date and time is agreed.



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Dated: July 14, 2023               Respectfully submitted,

                                   By: /s/ Marty L. Brimmage, Jr.
                                   Marty L. Brimmage, Jr.

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                                   Counsel to the Official Committee of Unsecured
                                   Creditors of Alexander E. Jones




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